                          UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                    3:05CR281

                                                   )
UNITED STATES OF AMERICA                           )
                                                   )                  ORDER
       v.                                          )
                                                   )
AUGUSTINE RIVERA RIVERA, et al                     )
                                                   )


        This matter is before the court on its own motion. The court’s order of March 13, 2006
(doc. 61) incorrectly states that the trial of Jose Daniel Rivera Rivera (2) is set to begin on May 6,
2006. The correct date is May 1, 2006. All other trial dates as stated in the previous order are
correct.

       IT IS THEREFORE ORDERED that the trial of Jose Daniel Rivera Rivera (2) shall
begin on May 1, 2006.

       So ordered.

                                                  Signed: March 14, 2006




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